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Label Matrix for USBC                      0 C TANNER                                   3M VALLEY
Northern District of Indiana               1930 SOUTH STATE STREET                      600 E. MEIGS
Case 04-10427-reg                          SALT LAKE CITY, UT 84115                     VALLEY, NE 68064-0368
Thu Aug 11 16:24:29 EST 2005


A T & T                                    A-1 JANITORIAL SERVICE                       A. F. Europe, Inc.
P.O. Box 96001309                          PO BOX 241                                   c/o Sommer Barnard Ackerson PC
Louisville, KY 40290-1309                  WATERLOO, IN 46793                           Attn: Jerald I. Ancel
                                                                                        One Indiana Square, Suite 3500
                                                                                        Indianapolis, IN 46204-2023, 46204-2023

A.F. EUROPE, INC.                          ABB Inc.                                     ABB METALLURGY INC
635 W. ELEVENTH STREET                     9000 Regency Park                            1460 LIVINGSTON AVE
AUBURN, IN 46706                           Suite 300                                    NORTH BRUNSWICK, NJ 08902
                                           Cary, NC 27511


ABF FREIGHT SYSTEM INC.                    ACORDIA                                      ADDIS INC
3320 N. WELLS ST.                          P.O. BOX 885                                 3721 LEE ROAD
FORT WAYNE, IN 46808                       FT WAYNE, IN 46801-0885                      CLEVELAND, OH 44120



ADMETCO                                    AERO-MOTIVE MANUFACTURING                    AIR PRODUCTS AND CHEMICALS
7625 VICKSBURG PIKE                        5688 EAST ML AVE                             PO BOX 25745
FORT WAYNE, IN 46850                       KALAMAZOO, MI 49001                          LEHIGH VALLEY, PA 18002-5742



AIR TECHNICS INC.                          AIRBORNE EXPRESS                             AIRTECH ENVIRONMENTAL SERVICES
2652 MERRIMONT DRIVE                       P.O. BOX 91001                               601A COUNTRY CLUB DRIVE
TROY, OH 45373                             SEATTLE, WA 98111                            BENSENVILLE, IL 60106



ALFA FINANCIAL CORPORATION                 ALLEN PATTERN WORKS INC.                     ALRO STEEL CORPORATION
56 COLONIAL PARK DRIVE SUITE 200           616 EAST WALLACE STREET                      PO BOX 10360
ROSWELL, GA 30075                          P.O. BOX 10540                               FT WAYNE, IN 46851-0360
                                           FORT WAYNE, IN 46803


AMERICAN BIO MEDICA CORPORATION            AMERICAN WIRE ROPE AND SLING                 AMETEK INC.
122 SMITH ROAD                             3122 ENGLE ROAD                              900 GREENBANK ROAD
KINDERHOOK, NY 12106                       FORT WAYNE, IN 46809                         WILMINGTON, DE 19808



APPLIED METALS & MACHINE WORKS             ARAB PEST CONTROL                            ARROW FENCE COMPANY, INC.
1036 ST. MARYS AVENUE                      1130 PION RD                                 318 EDGEWOOD AVENUE
FORT WAYNE, IN 46808                       FORT WAYNE, IN 46825                         FORT WAYNE, IN 46805



ARROW SERVICES INC                         ASHLAND CHEMICAL CO                          AUBURN CITY UTILITIES
4121 NORTHRUP                              P 0 BOX 395                                  PO BOX 506
FT WAYNE, IN 46805                         COLUMBUS, OH 43216-0395                      AUBURN, IN 46706
                              Case 04-10427-reg   Doc 752-1       Filed 08/12/05    Page 2 of 21
AUBURN INN                                AUSTIN PETROLEUM INC.                       AUTO ELECTRIC
225 TOURING DRIVE                         99 E. JOE STREET                            709 E WASHINGTON
AUBURN, IN 46706                          HUNTINQTON, IN 46750                        FT WAYNE, IN 46802



AUTOMATIC DATA PROCESSING                 AZTEC MILLENNIUM SUPPLY, I                  Air Products and Chemicals
OF INDIANAPOLIS INC                       8411 MAYHEW ROAD                            Tom Jacob A6313
P.O. BOX 80419                            FORT WAYNE, IN 46835                        7201 Hamilton Blvd.
INDIANAPOLIS, IN 46280-0419                                                           Allentown, PA 18195


American Arbitration Association          American Distribution Assoc.                American Express Travel Related SVCS CO
335 Madison Ave., 10th Fl.                335 Madison Ave., 10th Fl.                  c/o Becket & Lee LLP
New York, NY 10017                        New York, NY 10017                          PO Box 3001, Dept AC
                                                                                      Malvern, PA 19355-0701


American Express Travel Related Svcs Co   American Express Travel Related Svcs Co     Anne Meeks Davis Trust
Becket and Lee LLP, Attorneys/Agent       c/o Becket and Lee, LLP                     c/o James Borgmann, Esq.
P.O. Box 3001                             P.O. Box 3001                               201 East Jackson Street, Suite 400
Malvern, PA 19355-0701                    Malvern, PA 19355-0701                      Muncie, IN 46306-2847


Antibus Scales and Systems                Arch Wireless                               Ashland Incorporated
4809 Illinois Road                        Attn: Division 19                           Ashland Inc.
Fort Wayne, IN 46804                      11570 Mosteller Road                        Collection Dept. DS3
                                          Cincinnati OH 45241                         PO Box 2219
                                                                                      Columbus, OH 43216, 43216

Ashland, Inc.                             Auburn Chrysler, Dodge, & Jeep, Inc.        Auburn Foundry, Inc.
Collection Dept.                          507 South Grandstaff Drive                  635 W. Eleventh Street
P.O. Box 2219                             Auburn, IN 46706                            Auburn, IN 46706
Columbus, OH 43216


Austin Petroleum, Inc.                    B-P INDUSTRIAL DIVISION                     BADEN, GAGE & SCHROEDER, LLC
c/o Ron Ellis, President                  8432 CENTRAL AVE., SUITE 3                  6920 POINTE INVERNESS WAY, SUITE 300
99 East Joe Street                        SYLVANIA, OH 43560                          FORT WAYNE, IN 46804
Huntington, IN 46750


BANK OF AMERICA                           BASSETT OFFICE SUPPLY INC                   BAYARD ADVERTISING AGENCY
Latham & Watkins Illinois LLP             509 SOUTH MAIN STREET                       902 BROADWAY, 10TH FLOOR
Attn.: Josef S. Athanas                   AUBURN, IN 46706                            NEW YORK, NY 10010
233 South Wacker Drive, Suite 5800
Chicago, IL 60606-4202, 60606-4202

BBC PUMP AND EQUIPMENT CO., INC.          BBC Pump and Equipment Co., Inc.            BBC Pump and Equipment Co., Inc.
1125 WEST 16TH ST                         777 N. Tibbs Ave.                           777 N. Tibbs Avenue
PO BOX 22098                              PO Box 22098                                PO Box 22099
INDIANAPOLIS, IN 46222                    Indianapolis, IN 46222                      Indianapolis, IN 46222


BEARDSLEY AND PIPER, LLC                  BELCON CORP.                                BGR INC
751 SHORELINE DRIVE                       P.O. BOX 4763                               25703 SPRINGFIELD CENTER ROAD
AURORA, IL 60504                          OAK BROOK, IL 60522-4763                    HARLAN, IN 46743
                              Case 04-10427-reg   Doc 752-1         Filed 08/12/05   Page 3 of 21
BGR Inc.                                  BISBEE INFARED SERVICES                      BLISS CLEARING NIAGRA, INC.
6392 Grand Road                           1304 W MICHIGAN                              683 NORTHLAND AVENUE
West Chester, Ohio 45069                  JACKSON, MI 49204                            BUFFALO, NY 14211



BLUE FLAME OF WATERLOO                    BOBCAT FINANCIAL SERVICES                    BOBCAT OF FORT WAYNE
P.O. BOX 428                              8001 RIDGEPOINT DRIVE                        3630 GOSHEN ROAD
WATERLOO, IN 46793                        IRVING, TX 75063                             FORT WAYNE, IN 46818



BOHL CRANE INC                            BOHREN LOGISTICS, INC.                       BOHREN-MERCER WAREHOUSE AND DISTRIBUTION
1930 LAKEVIEW DRIVE                       325 N. TAYLOR ROAD                           325 N. TAYLOR RD
FT WAYNE, IN 46808                        GARRETT, IN 46738                            GARRETT, IN 46738



BOSTWICK-BRAUN COMPANY                    BPC - BELL PACKAGING CORPORATION             BPC - Bell Packaging Corporation
ST RD 4 169                               PO BOX 3333                                  PO Box 3006
ASHLEY, IN 46705                          MARION, IN 46953-0333                        Marion, IN 46953-0333



BRAKE MATERIALS & PARTS INC               BREAD BASKET                                 BRECHBUHLER SCALES
800 SHERMAN AT PAPE                       115 NORTH MAIN STREET                        3306 CAVALIER DRIVE
FORT WAYNE, IN 46808                      AUBURN, IN 46706                             FORT WAYNE, IN 46808



BREHOB ELECTRIC EQUIPMENT INC.            BRIAN S AUTOMOTIVE CENTER                    BRISTAL METAL PRODUCTS, INC
1334 SOUTH MERIDIAN STRET                 1110 SOUTH GRANDSTAFF DRIVE                  3000 LEBANON CHURCH ROAD
INDIANAPOLIS, IN 46225                    AUBURN, IN 46706                             WEST MIFFLIN, PA 15122



BUSINESS IMPRESSIONS                      BUTLER & BUTLER CONSTRUCTION                 Bank of America, National Association
509 S MAIN ST                             1803 GRANDSTAFF DRIVE SOUTH                  231 S. LaSalle, 16th Floor
AUBURN, IN 46706                          AUBURN, IN 46706                             Chicago, IL 60697



Beardsley & Piper LLC                     Becket & Lee, LLP                            Best Access Systems
751 Shareline Drive                       PO Box 3001                                  6161 E. 75th St.
Aurora, IL 60504                          16 General Warren Blvd                       Indianapolis, IN 46250
                                          Malvern, PA 19355


Bobcat of Fort Wayne, Inc.                Bohl Equipment Company                       Bostwick-Braun
3630 Goshen Road                          534 W. Laskey Rd.                            1946 N. 13th Street
Fort Wayne, IN 46818                      Toledo, OH 43612                             Toledo, OH 43624



Bostwick-Braun Company                    Gary D. Boyn                                 Brehob Corp.
1946 North 13th Street                    121 W. Franklin Street                       P O Box 2023
Toledo, OH                                Elkhart, IN 46516                            Indianapolis IN 46206-2023
43624
                               Case 04-10427-reg   Doc 752-1         Filed 08/12/05   Page 4 of 21
Brehob Electric Equipment Inc.             John R. Burns(DM)                            John R. Burns(JF)
P.O. Box 2023                              111 East Wayne Street                        Baker & Daniels
Indianapolis, IN 46225                     Fort Wayne, IN 46802                         111 E. Wayne Street
                                                                                        Suite 800
                                                                                        Fort Wayne, IN 46802

John Burns(SR)                             C A PICARD SURFACE ENGINEER                  C MILLER & SONS INC
111 East Wayne Street                      SURFACE ENGINEERING DIVISION, INC.           6707 GABION WAY
Suite 800                                  689 SUGAR LANE                               FT WAYNE, IN 46818
Fort Wayne, IN 46802                       ELYRIA, OH 44035


CALAR INC                                  CAMS, INC.                                   CAMWAY TRANSPORTATION CORP
1010 C WEST SEVENTH STREET                 495 VILLAGE PARK DRIVE                       7846 WEST CENTRAL AVENUE
AUBURN, IN 46706                           POWELL, OH 43065                             TOLEDO. OH 43617



CANTEEN                                    CARPENTER BROTHERS INC.                      CARPER FARM SUPPLY INC
2715 AMERICAN WAY                          6120 NORTON CENTER DRIVE                     PO BOX 159
FORT WAYNE, IN 46809                       MUSKEGON, MI 49441                           ASHLEY, IN 46705



CARRIER VIBRATING EQUIPMENT                CASCADE PATTERN COMPANY                      CC METALS AND ALLOYS INC
P.O. BOX 37070                             5191 TERNES AVENUE                           UNIVERSITY CORPORATE CENTRE
LOUISVILLE, KY 40233-7070                  ELYRIA, OH 44035                             300 CORPORATE PARKWAY - 216N
                                                                                        AMHERST, NY 14226


CERTANIUM. ALLOYS & RESEARCH               CERTIFIED REDUCER REBUILDERS                 CINCINNATI PLUS
6510 NORTHPARK BLVD.                       32079 MILTON                                 PARTS DIVISION
CHARLOTTE, NC 28216                        MADISON HEIGHTS, MI 48071                    4701 MARBURG AVENUE
                                                                                        CINCINNATI, OH 45209


CITIZENS GAS & COKE UTILITIES              CITY OF AUBURN                               CLASSIC CITY AUTOMOTIVE INC
2020 NORTH MERIDIAN STREET                 % REBECCA FULLER                             503 MICHIGAN AVENUE
INDIANAPOLIS, IN 46202                     P.O.BOX 506                                  AUBURN, IN 46706
                                           AUBURN, IN 46706


CLEAN CONVEYOR SOLUTIONS                   COMPLETE DRIVES INC                          COMPLETE MAINTENANCE & STA
DIVISION OF CVP GROUP, INC.                1542 W. AUBURN DRIVE                         5405 HURSH ROAD
P.O. BOX 67                                AUBURN, IN 46706                             FORT WAYNE, IN 46845
WILLOW SPRINGS, IL 60480-0067


COMTRONIX CORPORATION                      CONSOLIDATED INDUSTRIES                      COPELCO CAPITAL, INC.
2213 EAST 45TH STREET                      6228 HOLLY OAK DRIVE                         P.O. BOX 728
INDIANAPOLIS, IN 46205-2297                FORT WAYNE, IN 46818                         PARK RIDGE, NJ 07656



COPPER AND BRASS SALES INC.                CORE TECH INC                                COTTERMAN COMPANY
530 NORTHFIELD DRIVE                       6000 OLD MAUMEE RD                           130 SELTZER ROAD
BROWNSBURG, IN 46112                       FT WAYNE, IN 46803                           CROSWELL, MI 48422
                              Case 04-10427-reg   Doc 752-1         Filed 08/12/05   Page 5 of 21
COVERT MANUFACTURING INC.                 COVINGTON BOX                                CROSIBLE INC.
328 SOUTH EAST STREET                     3514 US 6                                    P.O. BOX 271
GALION, OH 44833                          WATERLOO, IN 46793                           MORAVIA, NY 13118



CRYSTAL CLEAN                             CURRENT INC                                  CURTIS 1000
C O PETROLEUM MANAGEMENT                  2120 E. WASHINGTON                           PO BOX 11271
7901 WEST MORRIS ST.                      FT WAYNE, IN 46803-1329                      FT WAYNE, IN 46856
INDIANAPOLIS, IN 46231


CUSTOM ENGINEERING & FABRICATION          Calar Inc.                                   Carolyn D. Honer
2471 CR 64                                PO Box 458                                   C/O Keaton And Keaton
AUBURN, IN 46706                          Syracuse, IN 46567                           P.O. Box 11208
                                                                                       Fort Wayne, IN 46856-1208


Cascade Pattern Co.                       Cascade Pattern Company                      Centennial Wireless
c/o Brian Green                           Shapero, Green & Michel LLC                  421 Fernhill Avenue
25101 Chagrin Blvd., Suite 220            Signature Square II, Suite 220               Fort Wayne, IN 46805
Beachwood, Ohio 44122                     25101 Chagrin Blvd.
                                          Cleveland, OH 44122

Ceruti’s Catering                         Christy Davis Trust                          Citizens Gas & Coke Utility
615 Professional Way                      c/o Sommer Barnard Ackerson PC               Michael McGauhey
Kendallville, IN 46755                    Attn: Jerald I. Ancel                        2950 Propect Street
                                          One Indiana Square, Suite 3500               Indianapolis, IN 46203
                                          Indianapolis, IN 46204-2023, 46204-202

City of Auburn                            City of Auburn                               City of Auburn
c/o W. Erik Weber                         c/o Edmund P. Kos                            c/o W. Erik Weber
130 East 7th Street                       Kos & Associate                              130 East 7th Street
Auburn, IN 46706                          110 West Berry Street, Suite 1904            Auburn, IN 46706-1839
                                          Fort Wayne, IN 46802

Commissioner of Labor/IOSHA               Complete Drives Inc.                         Complete Drives Inc.
402 W. Washington Street, RM W-195        6419 Discount Dr.                            6419 Discount Drive
Indianapolis, IN 46204                    Fort Wayne, IN 46818                         Fort Wayne, IN 46818



Complete Maintenance & Staffing, Inc.     Corporate Benefit Strategy                   Covington Box & Packaging, Inc.
5405 Hursh Road                           5181 Plainfield Ave. NE, Suite D             c/o Beckman Lawson, LLP
Fort Wayne, IN 46845                      Grand Rapids, MI 46535                       Attn: Howard B. Sandler, Esq.
                                                                                       PO Box 800
                                                                                       Fort Wayne, IN 46801-0800, 46801-0800

Crown Equipment Corporation               Lawrence S. Crowther                         Custom Engineering & Fabrication
1919 Research Drive                       6055 Rockside Woods Blvd, Suite 200          1631 East Pontiac St.
Fort Wayne, IN 46808                      Cleveland, OH 44131                          Fort Wayne, IN 46803



Custom Engineering & Fabrication          D.A.S. SERVICES, INC.                        DAUBER COMPANY INC
1631 East Pontiac Street                  2310 WEST 175 NORTH                          577 NORTH 18TH ROAD
Fort Wayne, IN 46809                      ANGOLA, IN 46703                             TONICA, IL 61370
                              Case 04-10427-reg    Doc 752-1        Filed 08/12/05   Page 6 of 21
DAVID B. FINK                              DAVID J. JOSEPH COMPANY                     DEKALB COUNTY TREASURER
P.O. BOX 72                                659 VAN METER STREET, SUITE 530             COURTHOUSE
AUBURN, IN 46706                           CINCINNATI, OH 45202                        AUBURN, IN 46706



DEKALB COUNTY, INDIANA                     DEKALB ENGINEERING                          DEKALB MEMORIAL HOSPITAL
DEKALB COUNTY ASSESSOR, COURT HOUSE        700 E QUINCY STREET                         PO BOX 542
100 SOUTH MAIN STREET                      GARRETT, IN 46738                           AUBURN, IN 46706
AUBURN, IN 46706


DELL FINANCIAL SERVICES, L.P.              DIAMOND POWER SPECIALTY CO                  DICTATING & TIME SYSTEMS
14050 SUMMIT DRIVE, BLDG. A, SUITE 101     2520 EAST MAIN STREET                       2212 SOUTH CALHOUN STREET
AUSTIN, TX 78758                           LANCASTER, OH 43130-0787                    FORT WAYNE, IN 46802



DIETERT FOUNDRY TESTING INC                DIGITAL COMMUNICATION PROD                  DIGITAL REPROGRAPHICS, INC.
9190 ROSE LAWN AVE.                        3720 SOUTH CALHOUN STREET                   105 CHAMBEAU ROAD
DETROIT, MI 48204                          FT WAYNE, IN 46862-2107                     FORT WAYNE, IN 46805



DISA GOFF, INC.                            DISA INDUSTRIES INC.                        DISA INDUSTRIES, INC.
I PLEASANT GROVE ROAD                      80 KENDALL POINT DRIVE                      80 KENDALL POINT DRIVE
SEMINOLE, OK 74868                         OSWEGO, IL 60543                            OSWEGO, IL 60543



DISA Industrie, Inc.                       DIVERSIFIED PATTERN & ENG                   DOALL SOUTH BEND CO INC
Randall A. Miller                          100 PROGRESS WAY                            802 S. BEIGER ST.
80 Kendall Point Drive                     AVILLA, IN 46710-0230                       MISHAWAKA, IN 46544
Oswego, IL 60543


DON R FRUCHEY INC                          DORSCH TOOL & ENG CO                        DR LUBRICANTS INC
5608 OLD MAUMEE ROAD                       3419 GEORGETOWN RD                          4611 NEWAYGO ROAD, SUITE D
FT WAYNE, IN 46803                         INDIANAPOLIS, IN 46224                      FT WAYNE, IN 46825



DUCA MANUFACTURING INC                     DUFFY OFFICE PRODUCTS                       DURAFLO EQUIPMENT COMPANY, INC.
761 MCCLURG ROAD                           7712 LIMA ROAD                              1737 MASSACHUSETTS AVENUE
BOARDMAN, OH 44512                         FORT WAYNE, IN 46818                        INDIANAPOLIS, IN 46201



Daniel T. March                            Dauber Company Inc.                         David B. Fink, Debtor by G. D. Boynm, Tr
C/O John C. Grimm                          577 North 18th Road                         c/o Warrick & Boyn LLP
P.O. Box 31                                Tonica, IL 61370                            Attn: Gary D. Boyn
Auburn, IN 46706                                                                       121 West Franklin Street, Suite 400
                                                                                       Elkhart, IN 46516-3278, 46516-3278

David Burr Fink, by Tower Bank & Trust C   David Hunter                                David M. Meeks Jr. Trust
Tower Bank & Trust Co., as Trustee         5206 N. Manitou Trail                       c/o James Borgmann, Esq.
c/o Martin E. Seifert, Esq.                Leland, MI 49654                            201 East Jackson Street, Suite 400
Haller & Colvin, P.C.                                                                  Muncie, IN 46305-2847
444 East Main Street, Fort Wayne, IN 468
                              Case 04-10427-reg   Doc 752-1         Filed 08/12/05   Page 7 of 21
David Weber                               Dayton Freight                               Dayton Freight Lines Inc
4213 Arkway Ct.                           PO Box 340                                   6450 Poe Ave. Ste 311
Fort Wayne, IN 46814                      Vandalia, OH 45377                           Dayton, Ohio 45414



DeKalb Co. Nuisance Animal Control        Dell Financial Services                      Detrick L. Franklin
4107 CR 35                                PO Box 99200                                 C/O Chritopher C. Myers
Auburn, IN 46706                          Chicago, IL 60693                            809 S. Calhoun St., Ste 400
                                                                                       Fort Wayne, IN 46802


Detrick L. Franklin                       Dick Taylor Consulting 635 Land 425          Digital Communication Prod.
c/o Christopher C. Myers                  Jimmerson Lake                               3720 South Calhoun Street
Christopher C. Myers & Associates         Fremont, IN 46737                            Fort Wayne, IN 46807
809 S. Calhoun St., Ste. 400
Fort Wayne, IN 46802, 46802

Disa Goff, Inc.                           Don R. Fruchey, Inc.                         Duraflo Equipment Company, Inc.
PO Box 1607                               Kent C. Litchin                              3910 - B Culligan Avenue
Seminole, OK 74818                        Grossman & Litchin LLP                       Indianapolis, IN 46218
                                          1600 Lincoln Tower
                                          Fort Wayne, Indiana 46802, 46802

Duraflo Equipment Company, Inc.           E-FILLIATE INC.                              EAGLE FOUNTAIN WORKS, INC.
3910-B Culligan Avenue                    11321 WHITE ROCK RD                          8 WINCHESTER ROAD
Indianapolis, IN 46218                    RANCHO CORDOVA, CA 95742                     ORMOND BEACH, FL 32174



EASTERN ENGINEERING SUPPLY                ECLECTRIC COMPANY                            EDGLO LABORATORIES INC
2810 NORTH WHEELING                       18315 RICHEY LANE                            2107 EAST WASHINGTON BLVD
MUNCIE, IN 47303                          HUNTERTOWN, IN 46748                         FT WAYNE, IN 46803



EDS                                       EDWARDS MEDICAL                              EIRICH MACHINES INC
PO BOX 4582                               495 WOODCREEK DRIVE                          4033 RYAN RD
POSTAL STATION A                          BOLINGBROOK, IL 60440                        GURNEE, IL 60031
TORONTO, ON M5W 4W4


ELEVENTH STREET CAPITAL, LL               ELKEM METALS INC.                            ELY CRANE & HOIST
635 WEST ELEVENTH STREET                  P 0 BOX 266                                  1247 EAST 222ND STREET
AUBURN, IN 46706                          PITTSBURGH, PA 15230-0266                    EUCLID, OH 44117



EMED COMPANY INC.                         EMERGENCY RADIO SERVICE                      EMPIRE REFRACTORY SALES INC
P.O. BOX 369                              4410 EARTH DRIVE                             3525 METRO DRIVE
BUFFALO, NY 14240-0369                    FORT WAYNE, IN 46809                         FORT WAYNE, IN 46818



EMPLOYER S SECURITY INC                   ENCO MFG CO                                  ENGINEERED TOOLING
PO BOX 1045                               400 NEVADA PACIFIC HIGHWAY                   P.O. BOX 48
ELKHART, IN 46515                         FERNLEY, NV 89408                            ALBION, IN 46701
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ENVIRO CONTROL METALS                    EPIC MACHINE                                ERNST AND YOUNG LLP
650 CHESTNUT STREET S.W                  201 INDUSTRIAL WAY                          PO BOX 710884
GRAND RAPIDS, MI 49503                   FENTON, MI 48430                            CINCINNATI, OH 45271-0884



EWALD ENTERPRISES INC                    EXECUTONE INFORMATION SYSTEMS               Earth Tech, Inc.
PO BOX 80165                             ATTN LCR DEPARTMENT                         5555 Glenwood Hills Pkwy. S.E.
FT WAYNE, IN 46898-0165                  P.O. BOX 52843                              Grand Rapids, MI 49512
                                         PHOENIX, AZ 85072-2843


Edglo Laboratories Inc.                  Edglo Laboratories, Inc.                    Edwin P. Rosebrock
2121 E. Washington Blvd.                 2121 East Washington Blvd.                  PO Box 383
Fort Wayne, IN 46803                     Fort Wayne, IN 46803                        Auburn, IN 46706



Edwin P. Rosebrock                       Edwin P. and Mary K. Rosebrock              Henry A. Efroymson
Patrick L. Proctor                       C/O Patrick Procter, Eilbacher Scott        Ice Miller
803 South Calhoun St., 4th Floor         110 W. Berry St., Ste 2202                  One American Square
Fort Wayne, IN 46802                     Fort Wayne, IN 46802                        Box 82001
                                                                                     Indianapolis, IN 46282

Eleventh Street Capital, LLC             Eleventh Street Capital, LLC                Elkem Metals Inc.
c/o Sommer Barnard Ackerson              c/o Sommer Barnard Ackerson PC              Stacy Cairns
Attn: Jerald I. Ancel                    Attn: Jerald I. Ancel                       PO Box 266
One Indiana Square, Suite 3500           One Indiana Square, Suite 3500              Pittsburgh, PA 15230
Indianapolis, IN 46204-2023, 46204-202   Indianapolis, IN 46204-2023, 46204-202

Elliot Transport System, Inc.            Enco Manufacturing Company, Inc.            Enco Mfg Co
MC 250424                                PO Box 357                                  P.O. Box 357
4104-32nd Avenue South                   Farmingdale, NY 11735                       Farmingdale, NY 11735
Moorhead, MN 56561-0366


Eric Davis                               Ewald Enterprises Inc                       FAIRMOUNT MINERALS
1565 West Maumee Street                  PO Box 80165                                P 0 BOX 400
Angola, IN 46703                         Ft. Wayne, IN 46898-0165                    BRIDGEMAN, MI 49106
                                         Attn: Daniel R. Ewald


FALCON FOUNDRY CO                        FARGO WEAR INC                              FIRE PROTECTION INC
PO BOX 301                               1801 CANIFF AVENUE                          750 W NORTH ST SUITE C
LOWELLVILLE, OH 44436-0301               DETROIT, MI 48212-2917                      AUBURN, IN 46706



FLEX-PAC, INC.                           FMTHUR                                      FOSECO INC
7113 SOUTH MAYFLOWER PARK                8408 MANOR DRIVE                            20200 SHELDON ROAD
ZIONSVILLE. IN 46077                     FORT WAYNE, IN 46825                        BROOK PARK, OH 44142



FOX CONTRACTORS CORP.                    FRANK H GILL COMPANY                        FRANKLIN CAPITAL FINANCIAL SERVICES, LLC
5430 FERGUSON ROAD                       2859 BERNICE ROAD                           112 NORTH GRANT STREET
FORT WAYNE, IN 46809                     LANSING, IL 60438                           NORTH AURORA, IL 60542
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FREEMAN MFG & SUPPLY COMPANY               FRISKNEY GEAR & MACHINE CORP                FT WAYNE ORTHOPAEDICS
27655 GROESBECK HWY                        350 NORTH BRIDGE STREET                     P.O. BOX 2526
ROSEVILLE, MI 48066                        CORUNNA, IN 46730                           FORT WAYNE, IN 46801



Fairmount Minerals                         Fastenal Company                            Stephen L. Fink
Michelle Pezanoski                         923 Cardinal Court                          Barnes & Thornburg
P.O. Box 177                               Auburn, IN 46706                            600 One Summit Square
Wedron, IL 60557                                                                       Fort Wayne, IN 46802


Fire Protection, Inc.                      First Insurance Funding Corp.               Fox Contractors Corp.
Curt & Tim Howard                          450 Skokie Blvd., Ste 1000                  c/o Stephen E. Lewis, Esq.
750 W. North Street                        P.O. Box 3306                               Haller & Colvin, P.C.
Auburn, IN 46706                           Northbrook, IL 60065-3306                   444 East Main Street
                                                                                       Fort Wayne, IN 46802

Fox Contractors Corp.                      Frank H Gill Company                        Frank H Gill Company
c/o Stephen E. Lewis, Esq.                 P.O. Box 703                                PO Box 703
Haller & Colvin, P.C.                      Lansing, IL 60438-0703                      Lansing, IL 60438-0703
444 East Main Street
Fort Wayne, Indiana 46802, 46802

GENERAL KINEMATICS CORP                    GEORGE E BOOTH COMPANY                      GMAC BUSINESS CREDIT, LLC
777-T LAKE ZURICH ROAD                     8202 W 10TH ST                              300 GALLERIA OFFICENTRE, STE 110
BARRINGTON, IL 60010                       INDIANAPOLIS, IN 46214-2432                 SOUTHFIELD, MI 48034



GMAC Business Credit, LLC                  GMP Local 322                               GOEGLEIN I S
3000 Town Center, Suite 280                C/O Richard J. Swanson                      7311 MAYSVILLE ROAD
Southfield, MI 48075                       445 N. Pennsylvania Street, Suite 401       FORT WAYNE, IN 46815-8199
                                           Indianapolis, IN 46204-1800


GOLDEN RULE SANITATION, IN                 GRAINGER INC                                GRAYCRAFT SIGNS PLUS INC
9905 KRESS ROAD                            5002 SPEEDWAY DRIVE                         434 WEST 7TH STREET
ROANOKE, IN 46783                          FT WAYNE, IN 46825                          AUBURN, IN 46706



GREAT LAKES CARBON CORP                    GROHOLSKI MANUFACTURING SO                  Nancy J. Gargula
FOUR GREENSPOINT PLAZA,SUITE 2200          PO BOX 15742                                One Michiana Square
16945 NORTHCHASE DRIVE                     FORT WAYNE, IN 46885                        5th Floor
HOUSTON, TX 77060-2133                                                                 100 East Wayne Street
                                                                                       South Bend, IN 46601

Gary G. Schock                             Gary G. Shock                               General Kinematics Corp
C/O Randal S. Forbee                       c/o Randal S. Forbes                        5050 Rickert Road
P.O. Box 374                               PO Box 374                                  Crystal Lake, IL 60014-7333
Angol, IN 46703                            Angola, IN 46703


General Motors Corporation                 Gerald L. Martin, III                       Gerald Martin
Tricia A. Sherick, Esq.                    c/o Christopher C. Myers & Associates       C/O Chritopher C. Myers
Honigman Miller Schwartz and Cohn LLP      809 S. Calhoun St., Ste. 400                809 S. Calhoun St., Ste 400
2290 First National Bldg.                  Fort Wayne, IN 46802                        Fort Wayne, IN 46802
Detroit, MI 48226, 48226
                              Case 04-10427-reg   Doc 752-1         Filed 08/12/05   Page 10 of 21
Glass, Molders, Pottery, Plastics and Al   Goeglein’s Inc.                             H E C 0 INC
c/o Richard J. Swanson                     7311 Maysville Road                         3509 S BURDICK ST
445 N. Pennsylvania Street, Suite 401      Fort Wayne, IN 46815-8199                   KALAMAZOO, MI 49001
Indianapolis, IN 46204


H.A. SMOLEN COMPANY INC.                   HANEY S GLASS OF AUBURN                     HARBOR METAL, INC
PO BOX 9055                                930 WEST 15TH STREET                        PO BOX 644
HIGHLAND, IN 46322                         AUBURN, IN 46706                            BENTON HARBOR, MI 49023



HARTLEY CONTROLS CORP.                     HERAEUS ELECTRO-NITE COMPANY                HICKMAN WILLIAMS & COMPANY
2400 HOLLY ROAD                            INSTRUMENT LAB                              COMMERCE PLAZA
NEENAH, WI 54956                           1418 EAST 86TH PLACE                        2015 SPRING ROAD
                                           MERRILLVILLE, IN 46410                      OAK BROOK, IL 60521


HILL AND GRIFFITH CO.                      HIPSHER TOOL & DIE, INC.                    HOOK INDUSTRIAL SALES INC.
3637 FARNSWORTH                            1593 S. STATE ROAD 115                      2731 BROOKLYN AVE.
INDIANAPOLIS, IN 46241                     WABASH, IN 46992                            PO BOX 9177
                                                                                       FORT WAYNE, IN 46899


HOOSIER TRAILER & TRUCK EQ                 HOT CREWS INC                               HYDRONIC & STEAM EQUIP CO
4830 TODD DRIVE                            PO BOX 13094                                8950 BASH STREET
FORT WAYNE, IN 46803                       FT WAYNE, IN 46803                          INDIANAPOLIS, IN 46256



Harbor Metal Treating Co. of Indiana       Michael D. Hawk                             Charles J. Heiny
PO Box 644                                 Hawk, Haynie, Jammeyer & Chickedantz        444 East Main Street
Benton Harbor, MI 49023                    116 East Berry St.                          Fort Wayne, IN 46802
                                           Lincoln Tower Suite 302
                                           Fort Wayne, IN 46802

Heraeus Electro-Nite Company               Heraeus Electro_Nite Co.                    Hi-Vac Corporation
One Summit Square 1st Floor                One Summit Square 1st Floor                 117 Industry Road
Suite 100                                  Suite 100                                   Marietta, OH 45750
Langhorne, PA 19047                        Langhorne PA 19047


Hickman, Williams & Company                Matthew M. Hohman                           Honigman Miller Schwartz & Cohn LLP
PO Box 538                                 Barnes & Thornburg                          2290 First National Building
Cincinnati, OH 45201                       600 One Summit Square                       660 Woodward Avenue
Attention: T. L. Meadors                   Fort Wayne, IN 46802-2663                   Detroit, MI 48226


I.R.S.                                     IBM CREDIT CORPORATION                      IBM CREDIT LLC
230 S. DEARBORNE, ROOM 2560                I NORTH CASTLE DRIVE                        1 NORTH CASTLE DRIVE
5014 CHI                                   ARMONK, NY 10504-2575                       ARMONK, NY 10504-2575
CHICAGO, IL 60604


IBM Corporation                            IBM Corporation                             IBM Credit LLC
Beverly H. Shideler                        2707 Butterfield                            Beverly Shideler
Two Lincoln Centre                         Oak Brook, IL 60521                         Two Lincoln Centre
Oakbrook Terrace, IL 60181                                                             Oakbrook, IL 60181
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IN Dept. of Environmental Management      INDIANA DEPARTMENT OF REVENUE                INDIANA REFRACTORIES INC.
100 North Senate Avenue                   100 NORTH SENATE                             1624 SIMONS STREET
P.O. Box 6015                             ROOM N203                                    FT. WAYNE, IN 46803
Indianapolis, IN 46204                    INDIANAPOLIS, IN 46204-2217


INDUCTOTHERM CORP                         INDUSTRIAL CERAMIC PRODUCT                   INDUSTRIAL MARKETING INC.
10 INDEL AVE                              14401 SUNTRA WAY                             114 W. TOLEDO STREET
RANCOCAS, NJ 08073                        MARYSVILLE, OH 43040                         FREMONT, IN 46737



INDUSTRIAL SPECIALITIES                   INDUSTRIAL TOOL SERVICE INC.                 INDUSTRIAL TUBE & STEEL CO
9621 WHITE HILL DRIVE                     612 HAYDEN STREET                            P.O. BOX 640137
FORT WAYNE, IN 46804-5953                 FORT WAYNE, IN 46802                         CINCINNATI, OH 45264-0137



INDUSTRON CORPORATION                     INGERSOLL-RAND CO                            INOVIS
2044 VALLEYDALE TERRACE                   AIR COMPRESSOR GROUP                         ATTN BILLING
BIRMINGHAM, AL 35244                      2516-1 INDUSTRIAL PARK DRIVE                 2425 N. CENTRAL EXPRESSWAY
                                          GOSHEN, IN 46526                             RICHARDSON, TX 75080


INTERLUBE CORPORATION                     INTERMEC TECHNOLOGY CORP.                    INTERNATIONAL QUALITY
4646 BAKER AVENUE                         9290 LESAINT DRIVE                           521 CLEVELAND
CINCINNATI, OH 45212-2594                 FAIRFIELD, OH 45014-5454                     LINCOLN PARK, MI 48146



INTERNATIONAL SURFACE PREP                IRCON INC                                    IVY TECH
1606 EXECUTIVE DR                         7300 N. NATCHEZ AVE.                         3800 NORTH ANTHONY BLVD
LAGRANGE, GA 30241                        NILES, IL 60714                              FORT WAYNE, IN 46805



Indiana Department of Revenue             Indiana Department of Revenue                Indiana Department of Revenue
100 North Senate                          100 North Senate                             Bankruptcy Section, Room N-203
Indianapolis, IN 46204-2253               Room N203                                    100 North Senate Avenue
                                          Indianapolis IN 46204-2217                   Indianapolis, IN 46204


Indiana Department of Revenue             Indiana Department of Workforce Developm     Indiana Employment Security Division
County Tax                                Beverly Korobkin                             10 North Senate Street
100 North Senate                          10 North Senate Avenue, SE200                Indianapolis, IN 46204
Indianapolis, IN 46204-2253               Indianapolis, IN 46204-2277


Industrial Specialties                    Internal Revenue Service                     Internal Revenue Services
9621 White Hill Ct.                       230 South Dearborn, Room 2560                230 South Dearborn, Room 2560
Fort Wayne, IN 46804-5953                 5014 CHI                                     5014CHI
                                          Chicago, IL 60604                            Chicago, IL 60604


J & K COMMUNICATIONS INC.                 J & L INDUSTRIAL SUPPLY                      J E BEARING AND MACHINE LTD.
222 S. TOWER VIEW DRIVE                   PO BOX 3359                                  68 SPRUCE STREET
COLUMBIA CITY, IN 46725                   LIVONIA, MI                                  TILLSONBURG, ON N4G 4H8
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J-LENCO INC                               JACKSON-HIRSH INC                            JANET F. BORDEN
664 N HIGH STREET                         700 ANTHONY TRAIL                            P.O. BOX 770570
LARUE, CH 43332                           NORTHBROOK, IL 60062-2542                    STEAMBOAT SPRINGS, CO 80477



JET EXPRESS INC.                          JOHN A. FINK                                 James Godschalk
4518 WEBSTER STREET                       271 N. MCCLELLAN STREET, #106                c/o Beckman Lawson LLP
DAYTON, OH 45414                          P.O. BOX 757                                 Attn: Howard B. Sandler
                                          AUBURN, IN 46706                             P O Box 800
                                                                                       Fort Wayne IN 46801-0800, 46801-0800

Janet F. Borden                           Joe Harmon                                   John A. Fink
c/o Sommer Barnard Ackerson PC            7004 Blackhawk Lane                          c/o Sommer Barnard Ackerson PC
Attn: Jerald I. Ancel                     Fort Wayne, IN 46815                         Attn: Jerald I. Ancel
One Indiana Square, Suite 3500                                                         One Indiana Square, Suite 3500
Indianapolis, IN 46204-2023, 46204-202                                                 Indianapolis, IN 46204-2023, 46204-202

John A. Urbaska Revocable Trust           K M H SYSTEMS                                KALTENBACH, INC.
c/o Sommer Barnard Ackerson PC            7020 STATE ROUTE 930 EAST                    6775 INWOOD DRIVE
Attn: Jerald I. Ancel                     FT WAYNE, IN 46803                           COLUMBUS, IN 47202
One Indiana Square, Suite 3500
Indianapolis, IN 467204-2023, 467204-2

KEIBLER THOMPSON CORP                     KENDALL ELECTRIC INC                         KENDALLVILLE IRON & METAL INC
ROUTE 66 RR #2R                           PO BOX 46                                    243 E. LISBON ROAD
EXPORT, PA 15632                          AUBURN, IN 46706-0046                        P O BOX 69
                                                                                       KENDALLVILLE IN 46755


KERAMIDA ENVIRONMENTAL INC                KEY EQUIPMENT FINANCE                        KMH SYSTEMS, INC.
330 N COLLEGE AVE                         66 SOUTH PEARL STREET                        7020 SR 930 EAST
INDIANAPOLIS, IN 46202                    ALBANY, NY 12207                             FORT WAYNE, IN 46803



KMH Systems, Inc.                         KONE INC                                     KORTE BROS INC
6900 Poe Ave.                             433 FERNHILL AVE                             620 W COOK RD
Dayton, OH 45414                          FORT WAYNE, IN 46805-1039                    FT WAYNE, IN 46825-3324



KORTE PAPER CO.                           KROGER FOOD STORES                           KUSTOM MACHINING INC.
1819 SOUTH CALHOUN                        1001 WEST SEVENTH STREET                     P.O. BOX 39
FORT WAYNE, IN 46857                      AUBURN, IN 46706                             LEO, IN 46765



Katie Urbaska Revocable Trust             Kendall Electric Inc.                        Kendall Electric Inc.
c/o Sommer Barnard Ackerson PC            131 Grand Truck Ave.                         131 Grand Truck Avenue
Attn: Jerald I. Ancel                     Battle Creek, MI 49016                       Battle Creek, MI 49016
One Indiana Square, Suite 3500
Indianapolis, IN 46204-2023, 46204-202

Kerry L. Flory                            Key Equipment Finance, a division of Key     Khela J. Franklin
03469 County Road 9                       Capital, Inc. assignee for Adirondack        c/o Christopher C. Myers
Bryan, OH 43506                           Leasing Association                          Christopher C. Myers & Associates
                                          Attn: Sal Boscia                             809 S. Calhoun St., Ste. 400
                                          1000 South McCaslin Boulevard, Louisvill     Fort Wayne, IN 46802, 46802
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Kimberly E. Parker                         Edmund P. Kos                              Kurt Hollenbeck
c/o Chistopher C. Myers                    Kos & Associate                            2018 Sweet Cider Road
809 S. Calhoun St., Ste 400                110 West Berry Street                      Fort Wayne, IN 46818
Fort Wayne, IN 46802                       Suite #1904
                                           Fort Wayne, IN 46802

L & D INDUSTRIES                           LAB SAFETY SUPPLY INC.                     LBH CHEMICAL & INDUSTRIAL
201 SOUTH FULTON                           PO BOX 1368                                PO BOX 8460
AUBURN, IN 46706                           JANESVILLE, WI 53547-1368                  FT WAYNE, IN 46808-8460



LDM, LOADING DOCK MAINTENANCE              LECO CORPORATION                           LMI TECHNOLOGIES (USA), INC
14819 MILL ROAD                            3000 LAKEVIEW AVENUE                       21455 SUITE 22 MELROSE AVE
FORT WAYNE, IN 46816                       ST. JOSEPH, MI 49085-2396                  SOUTHFIELD, MI 48075



LOUGHEED & ASSOCIATES, INC.                LOUIS PADNOS IRON & METAL CO.              LYMAN STEEL CO.
1017 S. HADLEY ROAD                        P.O. BOX 1979                              P.O. BOX 28340
FORT WAYNE, IN 46804                       HOLLAND, MI 49422-1979                     CLEVELAND, OH 44128



Brian J. Lange                             Stephen E. Lewis                           MACALLISTER MACHINERY CO INC
Schenkel, Tirpak & Kowalczyk               444 E. Main St.                            2418 COLISEUM BLVD W
520 South Calhoun Street                   Fort Wayne, IN 46802                       FORT WAYNE, IN 46808-3648
Fort Wayne, IN 46802-0501


MACDONALD MACHINERY CO INC.                MAGMA FOUNDRY TECHNOLOGIES                 MAGNECO METREL INC
3911 LIMESTONE DRIVE                       2340 SOUTH ARLINGTON HEIGHTS ROAD          PO BOX 176
FORT WAYNE, IN 46809                       ARLINGTON HEIG, IL 60005                   NEGLEY, OH 44441



MAIL-WELL ENVELOPE                         MARJO PLASTICS                             MARLIN LEASING CORP.
4500 TIEDMAN ROAD                          1081 CHERRY STREET                         124 GAITHER DRIVE SUITE 170
CLEVELAND, OH 44144                        PLYMOUTH, MI 48170                         MOUNT LAUREL, NJ 08054



MARLIN LEASING CORP.                       MARPOSS CORPORATION                        MARTIN GRAPHICS
PO BOX 13604                               3300 CROSS CREEK PARKWAY                   P.O. BOX 525
PHILADELPHIA, PA 19101-3604                AUBURN HILLS, MI 48326                     AUBURN, IN 46706



MASTER GAGE & TOOL CO.                     MATERIALS HANDLING EQUIP C                 MCLEAN MIDWEST CORPORATION
112 MAPLEWOOD STREET                       7433 US 30 EAST                            11611 BUSINESS PARK BLVD. N.
DANVILLE, VA 24540                         FT WAYNE, IN 46803                         CHAMPLIN, MN 55316



MCMAHON TIRE                               MCMASTER CARR SUPPLY COMPANY               MCNICHOLS COMPANY
1712 SOUTH WAYNE STREET                    200 AURORA INDUSTRIAL PKWY                 1951 LIVELY BLVD.
AUBURN, IN 46706                           AURORA, OH 44202                           ELK GROVE VILLAGE, IL 60007
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MCS Industrial Supply Co.                 MELLON CONSULTANTS                           MET-PAK SPECIALITIES, INC.
75 Maxess Road                            TWO PENNSYLVANIA PLAZA                       2701 S. COLISEUM BLVD., SUITE 117
Melville, NY 11747                        NEW YORK, NY 10121                           FORT WAYNE, IN 46803



METALTEC STEEL ABRASIVE CO                MEYER INDUSTRIAL SERVICE                     MICHAEL BARSTOW
41155 JOY ROAD                            616 W MAPLEWOOD DRIVE                        CONSULTANT METALLURGIST
CANTON, MI 48187                          OSSIAN, IN 46777                             1152 SOUTHVALE ROAD
                                                                                       PITTSBURGH, PA 15237-4241


MICHIANA DOOR                             MID-STATE CHEMICAL & SUPPLY CO.              MIDWEST AIR FILTER, INC.
PO BOX 45                                 2100 GREENBRIER LANE                         3630 N. WELLS STREET
STROH, IN 46789-0045                      INDIANAPOLIS, IN 46218                       FORT WAYNE, IN 46808



MIDWEST INSTRUMENT CO INC                 MIDWEST PIPE & STEEL INC                     MILLER AND COMPANY
541 INDUSTRIAL DR                         PO BOX 11558                                 6400 SHAFER COURT, SUITE 500
HARTLAND, WI 53029-0080                   FORT WAYNE, IN 46859                         ROSEMONT, IL 60018



MODERN EQUIPMENT COMPANY                  MONITOR TECHNOLOGIES LLC                     MOTION INDUSTRIES INC
336 SOUTH SPRING STREET                   DRAWER AL-44W320                             3333 EAST WASHINGTON BLVD
PORT WASHINGTON, WI 53074                 ELBURN, IL 60119                             FT WAYNE, IN 46862-2149



MP STEEL INDIANA, LLC                     MPB INDUSTRIES                               MSC INDUSTRIAL SUPPLY CO
PO BOX 876                                505 EAST 31ST STREET                         P.O. BOX 9072
KENDALLVILLE, IN 46755                    ANDERSON, IN 46016                           MELVILLE, NY 11747



MSC Industrial Supply Co.                 MSS SOFTWARE                                 Magneco Metrel Inc.
75 Maxess Road                            5 GREAT VALLEN PARKWAY                       223 Interstate Road
Melville, NY 11747                        MALVERN, PA 19355                            Addison, IL 60101



Maila Davis Megorden Trust                Maile M. Urbaska                             Mark A. Gorney
c/o Sommer Barnard Ackerson PC            c/o Sommer Barnard Ackerson PC               c/o Christopher C. Myers
Attn: Jerald I. Ancel                     Attn: Jerald I. Ancel                        809 S. Calhoun St, Ste. 400
One Indiana Square, Suite 3500            One Indiana Square, Suite 3500               Fort Wayne, IN 46802
Indianapolis, IN 46204-2023, 46204-202    Indianapolis, IN 46204-2023, 46204-202

Mark A. Gorney                            Marlin Leasing Corp.                         Mary K. Rosenbrock
c/o Christopher C. Myers                  Kelly McCarthy, Bankruptcy Administrator     c/o Patrick Procter, Eilbacher Scott
Christopher . Myers & Associates          124 Gaither Drive, Suite 170                 110 West Berry St., Ste. 2202
809 S. Calhoun Street, Suite 400          Mount Laurel, NJ 08054                       Fort Wayne, In 46802
FOrt Wayne, IN 46802, 46802

Maxwell Engineering, Inc.                 McNichols Company                            McNichols Company
dba Allen Pattern Works                   Attn: Dwight Glisson                         PO Box 30300
616 East Wallace Street                   PO Box 30300                                 Tampa, FL 33630-3300
PO Box 10540                              Tampa, FL 33630-3300
Fort Wayne, IN 46803, 46803
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Medical Group of Fort Wayne                Michael Polich                              Michigan Department of Treasury
Billing Office                             7822 Ladue Court                            PO Box 30059
PO Box 2505                                Fort Wayne, IN 46804                        Lansing, MI 48909
Fort Wayne, IN 46801-2505


Midwest Instrument Co. Inc.                Miller and Company LLC                      Miller and Company LLC
Jeff Heimsch                               Robert Overman                              Robert E. Overman II
PO Box 80                                  9700 W. Higgins Road                        9700 West Higgins, Suite 1000
Hartland, WI 53029                         Suite 1000                                  Rosemont, IL 60018
                                           Rosemont, IL 60018

Moore Medical Corp                         Moore Medical Corporation                   Motion Industries, Inc
Attn: Sharon Schoenberger                  389 John Downey Drive                       1605 Alton Road
PO Box 1500                                PO Box 2740                                 Birmingham, AL 35210
New Britain, CT 06050-1500                 New Britain, CT 06050-2740


NADAPRO INC                                NADAPRO, Inc.                               NATIONAL CITY LEASING CORP.
5020 NOB ROAD                              c/o Gary D. Wohlwend                        101 SOUTH FIFTH STREET
FT WAYNE, IN 46825                         5020 Nob Road                               LOUISVILLE, KY 40202
                                           Fort Wayne, IN 46825


NATIONAL MATERIAL TRADING                  NEFF ENGINEERING CO INC                     NES RENTALS
1965 PRATT BLVD                            7114 INNOVATION BLVD                        8855 BYRON COMMERCE
ELK GROVE VILLAGE, IL 60007                FT WAYNE, IN 46898                          BYRON CENTER, MI 49315



NEWARK INONE                               NIckie L. Hutcherson                        NMHG FINANCIAL SERVICES INC
4410 EXECUTIVE BLVD, SUITE A               340 Lane 101                                7020 HWY 30 EAST
FT WAYNE, IN 46808                         Long Beach Lake                             FORT WAYNE, IN 46803
                                           Fremont, IN 46737


NMHG FINANCIAL SERVICES INC.               NMHG Financial Services, Inc.               NORTHSTAR IMAGING, INC.
44 OLD RIDGEBURY ROAD                      c/o Rubin & Levin, P.C.                     953 WESTGATE DRIVE
DANBURY, CT 06810                          500Marott Center                            ST. PAUL, MN 55114
                                           342 Massachusetts Ave.
                                           Indianapolis, IN 46204-2161

National Serv-All                          National Serv-All                           Ned Donaldson
5000 Smith Road                            Merritt/Hess                                612 Valley Park Drive
Fort Wayne, In 46809                       3907 CR 47                                  Auburn, IN 46706
                                           Auburn, IN 46706


Newcourt Leasing Corp/Cit                  Northbend Pattern Works                     Northern Indiana Trading Company
21146 Network Place                        28080 Ziebler Blvd.                         PO Box 526
Chicago, IL 60673-1211                     West Harrison, IN 47060                     Auburn, IN 46706



O C Tanner                                 OFC CAPITAL                                 OLD FORT SUPPLY CO., INC.
1930 South State Street                    DEPT GA00010                                OLD FORT WAY AT 2000 WAYNE TRACE
Salt Lake City, UT 84115                   PO BOX 530101                               FORT WAYNE, IN 46803
                                           ATLANTA, GA 30353-0101
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OMEGA ENGINEERING INC.                     OMNISOURCE CORP-TUSCO                      OSSOLA INDUSTRIALS INC.
ONE OMEGA DRIVE                            2453 HILL AVENUE                           1740 W. SEVENTH STREET
P.O. BOX 4047                              TOLEDO, OH 43607                           GRANITE CITY, IL 62040
STAMFORD, CT 06907-0047


OmniSource Corporation                     Overnight Transportation                   Overnite Transportation Co.
C/O Thomas P. Yoder, Esq.                  PO Box 1216                                PO Box 1216
Barrett & McNagny LLP                      Richmond, VA 23209-1216                    Richmond, VA 23218-1216
215 East Berry Street
Fort Wayne, IN 46802, 46802

PAASO GENERAL EQUIPMENT                    PANGBORN COMPANY                           PARKER GLOVE & SUPPLY, INC
PO BOX 868                                 580 PANGBORN BLVD.                         EAST 4TH STREET
BRIGHTON, MI 48116                         HAGERSTOWN, MD 21742-0380                  AVILLA, IN 46710



PEERLESS METALS POWDERS & ABRASIVES        PERFECTION SERVO HYDRAULIC                 PERKINS SEPTIC AND DRAIN SERVICE
P.O. BOX 09254                             1010 WEST REPUBLIC DRIVE                   0375 CR 11
DETROIT, MI 48209                          ADDISON, IL 60101                          HUDSON, IN 46747



PFLAUMER BROTHERS INC                      PHC INDUSTRIES INC.                        PHC Industries Inc.
398 CLARKSVILLE ROAD                       3115 PITTSBURG STREET                      PO Box 11225
PRINCETON JCT., NJ 08550                   FORT WAYNE, IN 46825                       Fort Wyane, IN 46856-1225



POWERED EQUIPMENT AND REPAIR               PRANGER ENTERPRISES INC                    PRECISION CALIBRATION COMPANY
600 VOORHEES                               PO BOX 366                                 7656 MILLINER COURT
PO BOX 147                                 ASHLEY, IN 46705                           PLAINFIELD, IN 46168
TERRE HAUTE, IN 47808-0147


PRECISION STEEL SERVICES                   PROJECT MANAGEMENT SERVICES                PROXTRONICS DOSIMETRY LLC
4334 EARTH DRIVE                           P.O. BOX 398                               7200 FULLERTON ROAD
FT. WAYNE, IN 46809                        MCDONALD, OH 44437-0398                    SPRINGFIELD, VA 22150



PSA Quality Systems, INc.                  PWC FABRICATION                            Parkview Occupational Health
5615 Enterprise Drive                      2121 WAYNE HAVEN AVENUE                    3103 East State Street
Lansing, MI 48911                          FORT WAYNE, IN 46803                       Fort Wayne, In 46805



Pension Benefit Guaranty Corporation       Perfection Servo Hydraulic                 Perfection Servo Hydraulics
Attn: Brad Rogers, Attorney                1290 Lyon Road                             1290 Lyon Rd.
Office of the General Counsel, Suite 340   Batavia, IL 60510                          Batavia IL, 60510
1200 K Street, N.W.
Washington, DC 20005-4026, 20005-4026

Print Shop                                 Patrick L. Proctor                         QHG OF FT WAYNE, INC REDIM
825 Northwood Blvd.                        Eilbacher Fletcher LLP                     315 EAST COOK ROAD
Fort Wayne, IN 46805                       803 South Calhoun Street, Ste 400          FORT WAYNE, IN 46825
                                           Fort Wayne, IN 46802
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QMS-CUSTOMER SERVICE                      QUALITY CALIBRATION SERVICE                 R I LAMPUS CO
300 GALLERIA OFFICENTER, S                10205 WEST GREENFIELD AVENUE                816 RAILROAD ST
SOUTHFIELD, MI 48034                      WEST ALLIS, WI 53214                        SPRINGDALE, PA 15144



R I Lampus Co.                            R.S. Corcoran Company                       RA MUELLER INC.
816 Railroad St.                          500 N. Vine Street                          11270 CORNELL PARK DRIVE
Springdale, PA 15144                      P.O. Box 429                                CINCINNATI, OH 45242
                                          New Lenox, IL 60451-0429


RADIO SHACK                               REDIMED DEKALB, LLC                         REFCO INC
1025 W 7TH ST                             AMIC                                        PO BOX 12867
AUBURN, IN 46706                          500 S. GRANDSTAFF SUITE G                   PITTSBURAH, PA 15241
                                          AUBURN, IN 46706


REILLEY TRUCKING                          RELIABLE CORPORATION                        RENCO MACHINE CO INC
7431 BENT WILLOW DRIVE                    1001 WEST VAN BUREN STREET                  1421 EASTMAN AVE
FORT WAYNE, IN 46815                      CHICAGO, IL 60607                           GREEN BAY, WI 54302



RENO REFRACTORIES, INC.                   RICHARD SQUIER PALLETS INC                  RUDD EQUIPMENT COMPANY
PO BOX 201                                3992 CR24                                   P.O. BOX 32427
MORRIS, AL 35116                          WATERLOO, IN 46793                          LOUISVILLE, KY 40232



RUMFORD INDUSTRIAL GROUP INC.             RYTEC CORPORATION                           RadioShack Credit Services
PO BOX 752288                             PO BOX 403                                  Attn: Judy Wong
DAYTON, OH 45475                          JACKSON, WI 53037                           300 RadioShack Circle Mail Stop 5018
                                                                                      PO Box 961090
                                                                                      Fort Worth TX 76161-5018, 76161-5018

Marlene Reich                             Marlene Reich(DKW)                          Richard Squier Pallets Inc.
One Indiana Square, Suite 3500            Sommer, Barnard                             2522 US Hwy 6 West
Indianapolis, IN 46204                    One Indiana Square                          PO Box 668
                                          Suite 3500                                  Waterloo, IN 46793
                                          Indianapolis, IN 46204

Brad Rogers                               Ronald J. Osbun                             Rothberg Logan & Warsco LLP
Pension Benefit Guaranty Corporation      c/o Christopher C. Myers & Associates       110 West Berry Street, Suite 2100
1200 K Street, N.W.                       809 South Calhoun Street, Suite 400         P.O. Box 11647
Suite 340                                 Fort Wayne, IN 46802                        Fort Wayne, IN 46859-1647
Washington, DC 20005-4026

S & S TIRE CO INC.                        S &SOILCO INC                               S D MYERS
1100 WEST 7TH STREET                      821 LAKESHORE AVENUE                        180 SOUTH AVENUE
AUBURN, IN 46706                          AUBURN. IN 46706                            TALLMADGE, OH 44278



SAFETY - KLEEN CORP                       SAFETY-KLEEN SYTEM, INC.                    SCHENKEL & SONS INC
PO BOX 12349                              5400 LEGACY DR.                             1120 ST MARY S AVENUE
COLUMBIA, SC 29211-2349                   CLUSTEN II BLDG 3                           FT WAYNE, IN 46808
                                          PLANO TX 75024
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SCHUST ENGINEERING INC.                   SCIOTO VALLEY PACKAGING, LLC                SCOTT INDUSTRIAL SYSTEMS INC
701 NORTH STREET                          5151 REED ROAD NE, SUITE 210A               521 N AIRPORT OFFICE PARK
AUBURN, IN 46706                          COLUMBUS, OH 43220                          FT WAYNE, IN 46825



SECURITY LOCKNUT INC                      SENTINEL FLUID CONTROLS                     SES LLC TECHNICAL GROUP
9650 WEST FOSTER AVENUE                   7114 INNOVATION BOULEVARD                   PO BOX 8413
CHICAGO, IL 60656                         FORT WAYNE, IN 46818                        FORT WAYNE, IN 46898



SHAMBAUGH & SONS INC                      SHELLS INC.                                 SHERRY LABORATORIES
P0 BOX 1287                               502 OLD U.S. HWY 30 EAST                    2203 SOUTH MADISON
FT WAYNE, IN 46801                        BOURBON, IN 46504                           MUNCIE, IN 47307



SIMPLICITY ENGINEERING IN                 SPECTRO ANALYTICAL INSTRUMENTS, INC.        SPECTRUM ENGINEERING CORP
212 S. OAK                                160 AUTHORITY DRIVE                         17420 TONKEL ROAD
DURAND, MI 48429-0257                     FITCHBURG, MA 01420                         LEO, IN 46765-9779



SPRAYING SYSTEMS COMPANY                  SPRINKLING CAN                              STACLEAN DIFFUSER COMPANY
C O HARRIMAN AVE                          233 SOUTH MAIN STREET-                      PO BOX 1147
P.O. BOX 348                              AUBURN, IN 46706                            SALISBURY, NC 28144
AUBURN, IN 46706


STAG IRON AND METAL CORP                  STAG Iron & Metal Corp.                     STATES ENGINEERING CORP
7820 WEST 60TH PLACE                      Deer & Stone, P.C.                          10216 AIRPORT DRIVE
SUMMIT, IL 60501                          130 S. Jefferson Street, Suite 501          FORT WAYNE, IN 46819
                                          Chicago, IL 60661


STERICYCLE INC                            STRUERS INC                                 STURGIS IRON & METAL
1301 E ALEXIS ROAD                        24766 DETROIT ROAD                          70675 CENTERVILLE ROAD
TOLEDO, OH 43612                          WESTLAKE, OH 44145                          STURGIS, MI 49091-0579



SUPERIOR BUSINESS SOLUTION                SYSTEM CLEAN INC.                           Schenkel & Sons Inc
PO BOX 8040                               50602 NORTH MICHIGAN ROAD                   Brian J. Lange, Esquire
FT WAYNE, IN 46898-8040                   SOUTH BEND, IN 46637-1532                   Schenkel Tirpak & Kowalczyk
                                                                                      520 South Calhoun Street
                                                                                      Fort Wayne, IN 46802, 46802

Scioto Valley Packaging, LLC              Secretary of Treasury                       Securities & Exchange Commission
PO Box 497                                15th & Pennsylvania Avenue                  Bankruptcy Section
Clinton, NC 28329                         Washington DC 20220                         175 W. Jackson Blvd., Suite 900
                                                                                      Chicago IL 60604


Martin E. Seifert                         Sentinel Fluid Controls                     Shambaugh & Son, L.P.
444 East Main Street                      5702 Opportunity Drive                      7614 Opportunity Drive
Fort Wayne, IN 46802                      Toledo, OH 43612                            Post Office Box 1287
                                                                                      Fort Wayne,
                              Case 04-10427-reg   Doc 752-1         Filed 08/12/05   Page 19 of 21
Shambaugh & Son, L.P.                      Sheela B. Davis Trust                       Tricia A. Sherick
Post Office Box 1287                       c/o Sommer Barnard Ackerson PC              Honigman, Miller, Schwartz and Cohn LLP
Fort Wayne, Indiana 46801                  Attn: Jerald I. Ancel                       2290 First National Bldg.
                                           One Indiana Square, Suite 3500              660 Woodward Avenue
                                           Indianapolis, IN 46204-2023, 46204-202      Detroit, MI 48226

Grant F. Shipley                           Sierra Poindexter                           Daniel J. Skekloff
233 West Baker Street                      c/o Christopher C. Myers & Associates       Skekloff, Adelsperger & Kleven, LLP
Fort Wayne, IN 46802-3413                  809 South Calhoun Street, Suite 400         927 South Harrison Street
                                           Fort Wayne, IN 46802                        Fort Wayne, IN 46802


Spectrum Engineering Corp                  Staclean Diffuser Co., LLC                  State of Michigan
5524 North County Line Road                PO Drawer 1147                              UIA Tax Office
Auburn, IN 46706-9302                      Salisbury, NC 28145-1147                    POC Unit - Suite 11-500
                                                                                       Detroit, MI 48202


Steel Equipment Specialists LLC            Stericycle Inc.                             Sturgis Iron & Metal Co., Inc.
P.O. box 2148                              13975 Polo Trail Dr #201                    c/o P. Joseph Haas, Jr.
1507 Beeson St.                            Lake Forest IL 60045                        112 S. Monroe Street
Alliance, OH 44601                                                                     Sturgis, MI 49091


SummitBridge National Investments LLC      Richard J. Swanson                          System Clean, Inc
c/o Michael M. Eidelman, Esq.              Macey, Swanson & Allman                     50602 N. Michigan St.
Vedder, Price, Kaufman & Kammholz, P.C.    445 North Pennsylvania Street               South Bend, IN 46637
222 North LaSalle Street, Suite 2600       Suite 401
Chicago, IL 60601                          Indianapolis, IN 46204-1800

T & L SHARPENING INC                       T & M EQUIPMENT CO INC                      T.T.G. PATTERN
2663 S FREEMAN ROAD                        2880 EAST 83RD PLACE                        5443 KEYSTONE DRIVE
MONTICELLO, IN 47960                       MERRILLVILLE, IN 46410                      FORT WAYNE, IN 46825



TAYLOR RENTAL AUBURN                       TEC-HACKETT, INC.                           TELEMOTIVE INDUSTRIAL CONTROLS
2224 STATE ROAD 8 WEST                     P.O. BOX 8830                               175 WALL STREET
AUBURN, IN 46706                           FORT WAYNE, IN 46898-8830                   GLENDALE HEIGHTS, IL 60139-1985



THOMAS E. KELLER TRUCKING INC.             TIME INDUSTRIAL INC                         TIMOTHY S. BORDEN
1160 CARPENTER ROAD                        6422 LIMA ROAD                              P.O. BOX 770570
DEFIANCE, OH 43512                         FORT WAYNE, IN 46818                        STEAMBOAT SPRINGS, CO 80477



TOOLING & EQUIPMENT INTERNATIONAL          TPC WIRE & CABLE                            TRANE COMPANY
12550 TECH CENTER DRIVE                    7061 EAST PLEASANT VALLEY ROAD              ROHAN TRANE SERVICE AGENCY, INC.
LIVONIA. MI 48150-2193                     INDEPENDENCE, OH 44131                      6602 INNOVATION BLVD.
                                                                                       FORT WAYNE, IN 46818-1389


TRI STATE COMPRESSED AIR SYSTEMS, IN       TRI-STATE INSTRUMENT SERVICE                TROJAN HEAT TREAT
1608 EISHENHOWER DRIVE SOUTH               3024 WAYNE TRACE                            809 S. BYRON ST
GOSHEN, IN 46526-5360                      P.O. BOX 6068                               HOMER, MI 49245
                                           FORT WAYNE, IN 46896
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Taylor Rental Center, Inc.                The New Keibler Thompson Co.                Time Industrial, Inc.
2224 St. Rd. 8                            Route 66 RR#2                               c/o Roy F. Kiplinger
Auburn, IN 46706                          Box264A                                     Beers Mallers Backs & Salin, LLP
                                          Export, PA 15632                            110 W. Berry Street, Suite 1100
                                                                                      Fort Wayne, IN 46802, 46802

Timothy S. Borden                         Tomkins Industries, Inc.                    Trevor Meeks Agency
c/o Sommer Barnard Ackerson PC            Attn: Payroll Department                    c/o Sommer Barnard Ackerson PC
Attn: Jerald I. Ancel                     PO Box 943                                  Attn: Jerald I. Ancel
One Indiana Square, Suite 3500            Dayton, OH 45401                            One Indiana Square, Suite 3500
Indianapolis, IN 46204-2023, 46204-2023                                               Indianapolis, IN 46204-2023, 46204-202

Ellen L. Triebold                         U.S. Attorney Office                        UNIMIN CORPORATION
Office of the United States Trustee       3128 Federal Building                       809 MYERS ROAD
One Michiana Square, Suite 555            1300 South Harrison Street                  ARCHBOLD, OH 43502
100 East Wayne Street                     Fort Wayne IN 46802
South Bend, IN 46601

UNITED PARCEL SERVICE                     US CARGO MANAGEMENT INC.                    US INSPECTION SERVICES
P.O. BOX 505820                           PHILADELPHIA INTERNATIONAL AIRPORT          705 ALBANY STREET
THE LAKES, NV 88905-5820                  P.O. BOX 277                                DAYTON, OH 45408
                                          ESSINGTON, PA 19029


US PATTERN COMPANY INC                    USF Holland, Inc                            Unimin Corporation
P0 BOX 220                                750 E. 40th Street                          258 Elm Street
RICHMOND, MI 48062                        Holland, MI 49423                           New Canaan, CT 06840



United Parcel Service                     Universal Am-Can Ltd.                       VAN DYNE CROTTY, INC.
c/o D&B/RMS Bankruptcy Services           PO Box 2007                                 3115 INDEPENDENCE DRIVE
PO Box 4396                               Warren, MI 48090                            FORT WAYNE, IN 46808
Timonium, Maryland 21094


VESUVIUS USA CORP.                        VIBES TECHNOLOGIES INC.                     VWR INTERNATIONAL, INC.
661 WILLET ROAD                           7125 NORTHLAND TERRACE NORTH, SUITE 400     PO BOX 66929, O HARE AMF
BUFFALO, NY 14218                         BROOKLYN PARK, MN 55428                     CHICAGO, IL 60666



VWR International, Inc.                   Van Dyne Crotty Inc.                        Vericore L.L,C.
1230 Kennestone Circle                    3233 Newmark Dr.                            1200 W. Causeway Approach
Marietta, GA 30066                        Miamisburg, OH 45342                        Mandevill, CA 70471



Vesuvius USA Corporation                  W.W. GRAINGER, INC.                         WALMAN OPTICAL CO
Steven Del Cotto, Esquire                 7300 N MELVINA AVE M530                     PO BOX 9440
27 Noblestown Road                        NILES IL 60714-3998                         MINNEAPOLIS, MN 55440
Carnegie, PA 15106


WARSAW ENGINEERING & FABRICATING          WATER SCIENCES                              WAYNE FASTENERS INC
2780 E. DURBIN STREET                     PO BOX 15489                                2725 INDEPENDENCE DRIVE
WARSAW, IN 46581-1043                     FT WAYNE, IN 46885                          FT WAYNE, IN 46808
                              Case 04-10427-reg   Doc 752-1      Filed 08/12/05   Page 21 of 21
WAYNE PIPE & SUPPLY INC                    WELDER SERVICES INC                      WESTPORT HARDNESS & GAGING
1815 SOUTH ANTHONY BLVD                    1725 EDSALL AVENUE                       510 MONTAUK HWY
FT WAYNE, IN 46803                         FT WAYNE, IN 46896                       WEST ISLIP, NY 11795



WEYERHAEUSER CO.                           WHEELABRATOR ABRASIVES INC               WHEELABRATOR CANADA INC.
2626 CR 71                                 1 ABRASIVE AVE                           401 WHEELABRATOR WAY
BUTLER, IN 46721                           BEDFORD, VA 24523                        MILTON, ONTARIO, L9T487



WIESE PLANNING & ENG., INC.                WILLIAM C WEBER & ASSOC IN               WILLIAM E. FINK
2725 INDEPENDENCE DRIVE                    CONSTITUTION HILL OFFICE PARK            P.O. BOX 826
FORT WAYNE, IN 46808                       6201 CONSTITUTION DRIVE                  AUBURN, IN 46706
                                           FT WAYNE, IN 46804


WISE INTERNATIONAL IDEAL LEAS              Warsaw Engineering & Fabricating         Wayne Fasteners Inc.
2807 GOSHEN ROAD                           c/o Scott R. Leisz                       2611 Independence Dr.
FORT WAYNE, IN 46808                       Bingham McHale LLP                       Ft. Wayne, IN 46808
                                           10 W. Market, #2700
                                           Indianapolis, IN 46204, 46204

W. Erik Weber                              Mark Werling(DM)                         Mark A. Werling(TW)
Mefford and Weber, P.C.                    Baker & Daniels                          111 East Wayne Street
130 East 7th Street                        111 East Wayne Street, #800              Suite 800
P.O. Box 667                               Fort Wayne, IN 46802                     Fort Wayne, IN 46802
Auburn, IN 46706

Elizabeth A. Whelan                        William C. Weber & Associates, Inc       William E. Fink
Office of the Attorney General             William/Suzanne Weber                    c/o Sommer Barnard Ackerson PC
Indiana Government Center South, 5th Fl.   6201 Constitution Dr.                    Attn: Jerald I. Ancel
302 W. Washington Street                   Fort Wayne, IN 46804                     One Indiana Square, Suite 3500
Indianapolis, IN 46204                                                              Indianapolis, IN 46204-2023, 46204-202

XRI TESTING                                XRI TESTING - TROY                       James T. Young
8327 RELIABLE PARKWAY                      MOBILEX, LLC                             RUBIN & LEVIN, P.C.
CHICAGO, IL 60686-0083                     1961 THUNDERBIRD                         342 Massachusetts Avenue, Ste. 500
                                           TROY, MI 48084                           Indianapolis, IN 46204-2161


plant
2222 west
naumee
